                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                 3:10cr102

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
Vs.                                               )              ORDER
                                                  )
JERRY W. HOLMES,                                  )
                                                  )
                 Defendant.                       )
_______________________________                   )

        THIS MATTER is before the court on defendant’s Motion for Relief from Order or

Motion to Reconsider (#100). Earlier, this court affirmed Magistrate Judge David Cayer’s

Order of Continuing Garnishment, overruling defendant’s legal and equitable challenges to

such Order. In the present motion, defendant contends for the first time that the government

should not be allowed to garnish 100% of his monthly pension payment from his former

employer, IBM, as such garnishment is limited to 25% by the Consumer Credit Protection

Act,15 U.S.C. §1672(a) (hereinafter “CCPA”).

I.      Background

        On June 8, 2011, this court sentenced defendant to 33 months of imprisonment and,

as part of that Judgment, directed him to pay a special assessment of $200 and restitution of

$2,564,450.31 to the victims of his offenses. To satisfy the monetary component of the

criminal judgment, the United States petitioned the court for a writ of garnishment "against

property . . . in which the debtor has a substantial nonexempt interest." 28 U.S.C. § 3205(a).

This interest in “property” includes nonexempt disposable earnings, id., defined as 25% of

a debtor’s disposable earnings. 28 U.S.C. § 3002(9).

        In accordance with the mandate of 28 U.S.C. § 3205(c), Honorable David S. Cayer,



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United States Magistrate Judge, issued the Writ of Continuing Garnishment (#68). The Writ

specifically provided that the garnishee, IBM, was to “pay the United States 100% of

Defendant’s periodic pension distributions.” Writ (#68), at 2. Defendant timely challenged

that Order as a matter of law and on equitable grounds, all of which this court rejected in

affirming Judge Cayer’s entry of the Order of Garnishment.

        In disposing of the objections to the order of Judge Cayer, this court found that

defendant agreed in his plea agreement to make full restitution to his victims, see Plea

Agreement §8, that rather than stay garnishment during incarceration as defendant requested,

defendant's pension was a substantial resource that should be applied to restitution.

        Defendant’s present motion does not challenge those conclusions and does not further

seek to stay collection of the indebtedness during his period of incarceration. Rather,

defendant now contends that it is improper for the government to garnish his IBM pension

at 100% as the garnishment statute limits such garnishment of pension benefits to 25% of a

debtor’s disposable earnings.1

II.     Application of the Consumer Credit Protection Act to Garnishment

        Prior to the issuance of the Order of Garnishment in this case, a majority of district


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              Rule 60(b), Fed.R.Civ.P., provides for post-judgment relief where the moving
party demonstrates:

       (1)     mistake, inadvertence, surprise, or excusable neglect;
       (2)     newly discovered evidence that, with reasonable diligence, could not have been
discovered in time to move for a new trial under Rule 59(b);
       (3)     fraud (whether previously called intrinsic or extrinsic), misrepresentation, or
misconduct by an opposing party;
       (4)     the judgment is void;
       (5)     the judgment has been satisfied, released, or discharged; it is based on an earlier
judgment that has been reversed or vacated; or applying it prospectively is no longer equitable;
or
       (6)     any other reason that justifies relief.

Fed.R.Civ.P. 60(b). For the reasons discussed below, consideration of the decisions of other
circuits is a sufficient reason to reconsider the appropriateness of the Writ of Garnishment.
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courts that had considered the issue had concluded that periodic payments from pensions or

other retirement plans did not constitute earnings under the Consumer Credit Protection Act,

and were not, therefore, subject to the 25% cap on garnishment established by the CCPA.

As recognized by the Court of Appeals for the Fifth Circuit in United States v. DeCay, 620 F.3d

534 (5th Cir.2010), a majority of lower courts had concluded that

       once passed to a retirement account or annuity in the hands of the employee,
       the funds in the account or annuity are not ‘earnings’ under the CCPA, and
       thus not subject to the 25% cap, even if they are distributed in periodic
       payments-in other words, the distributions from the fund to the defendant are
       not ‘disposable earnings' under § 303.'

Id., at 543–44 (citing United States v. Belan, No. 2008 WL 2444496, at *3 (E.D. Mich. June

13, 2008)).2 While recognizing the contrary decisions of the lower courts, the Decay court

determined that monthly pension payments were also subject to the 25% cap under the

CCPA’s definition of earnings as “periodic payments made pursuant to a pension or

retirement program.” Id.

       After the Writ of Garnishment was issued in this case, the Court of Appeals for the

Seventh Circuit also addressed whether pension payments were subject to the CCPA’s 25%

cap. In United States v. Lee, 659 F.3d 619 (7th Cir. 2011), the Seventh Circuit determined

that periodic payments from various pension plans (a defined benefit plan, a 401(k) plan, and

a “non-qualified” plan) were “earnings” under CCPA and thus were subject to a 25% cap.

Id., at 621. In reversing the district court, the Seventh Circuit noted that the 25% limitation

applied to “disposable earnings” and that “disposable earnings” were defined in 15 U.S.C.

§1672(a) to include “a pension or retirement program.” Id., at 621-22.



       2
               See also United States v. Crawford, 2006 WL 2458710, at *2–3 (E.D.Cal.
Aug. 22, 2006); United States v. Laws, 352 F.Supp.2d 707, 713–14 (E.D.Va.2004);
United States v. Blondeau, 2011 WL 6000499 (E.D.N.C. Nov. 1, 2011), aff’d 2011 WL
6001281 (E.D.N.C. Nov. 30, 2011).
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       As in Lee, the critical statutory inquiry in this case is whether the phrase “periodic

payments pursuant to a pension or retirement plan” contemplates periodic pension payments

to defendant from IBM. 15 U.S.C.§1672(a) (emphasis added). The government argues that

the word “into” should be substituted for “pursuant to” in reading § 1672(a). Response

(#104), at 4. In support of such interpretation, the government argues that payments from

a pension plan are not payments into a pension plan, making the 25% cap inapplicable. Id.

       The rules of statutory construction do not, however, allow a court to make wholesale

substitution of words, as the court must give the language used by Congress its plain meaning

as determined by examination of the statute’s language, structure, and purpose. United States

v. Horton, 321 F.3d 476, 479 (4 th Cir. 2003). The court may only go beyond the plain

language of unambiguous statutes to avoid absurd results and where

       literal application of the statutory language would produce a result
       demonstrably at odds with the intent of Congress; in such cases, the intent of
       Congress rather than the strict language controls. See United States v. Ron Pair
       Enters., Inc., 489 U.S. 235, 242, 109 S.Ct. 1026, 1031, 103 L.Ed.2d 290
       (1989) (“The plain meaning of legislation should be conclusive, except in the
       rare cases [in which] the literal application of a statute will produce a result
       demonstrably at odds with the intentions of its drafters. In such cases, the
       intention of the drafters, rather than the strict language controls.”) (internal
       quotation marks and citation omitted). To come within the ambit of this
       exception, however, the contrary intent must have been clearly expressed by
       the legislative body. See Russello v. United States, 464 U.S. 16, 20, 104 S.Ct.
       296, 299, 78 L.Ed.2d 17 (1983). In the absence of expressed Congressional
       intent, we must assume that Congress intended to convey the language's
       ordinary meaning. See United States v. Goldberger & Dubin, P. C., 935 F.2d
       501, 506 (2d Cir.1991) (“The words of a statute should be given their normal
       meaning and effect in absence of showing that some other meaning was
       intended.”); United States v. Stokley, 881 F.2d 114, 116 (4th Cir.1989) (“In the
       absence of a contrary indication, the court must assume the drafters of a statute
       intended to convey the ordinary meaning attached to the language.”).

Maryland State Dept. of Educ. v. U.S. Dept. of Veterans Affairs, 98 F.3d 165, 169 (4 th Cir.

1996). This court finds highly persuasive the reasoning of the Seventh Circuit in Lee, which

found the disputed language of the CCPA to be unambiguous, finding as follows:


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              The statutory language refers to periodic payments, which describe the
       $2,000 and $3,000 annual payments from Lee's 401(k) and defined benefit
       pension plan. Although the statutory definition of “earnings” cover
       compensation paid or payable for personal services regardless of whether they
       are labeled as wages, salary, bonus or otherwise, the plain language also
       embraces “periodic payments made pursuant to a pension or retirement
       program.” 15 U.S.C. § 1672(a). Black's Law Dictionary defines the term
       “pursuant to” as “in compliance with; in accordance with; under [or] ... as
       authorized by ... [or] in carrying out.” Black's Law Dictionary 1356 (9th
       ed.2009). Given the unambiguous language of the statute, periodic
       payments from a pension or retirement savings plan made in accordance
       with its terms would be made “pursuant to” the pension or retirement
       plan and therefore be subject to the 25% limitation of the CCPA.

Id.. at 622 (emphasis added). This court, as the government correctly argues, is not bound

by the decisions of other district courts or even the decisions of appellate courts outside the

Fourth Circuit. Decisions of other district courts are, however, instructive, and the decisions

of appellate courts outside the Fourth Circuit are highly persuasive in the absence of binding

authority from the Fourth Circuit or the Supreme Court.

       Having independently considered the language of the CCPA, and giving such

language its ordinary meaning, this court also finds that periodic payments from an

employer’s pension plan, made in accordance with the terms of the plan, are made “pursuant

to” the plan, and are therefore subject to 25% garnishment cap of the CCPA. In accordance

with rules of statutory construction applicable in this circuit, the court has also considered

whether such a reading would of the CCPA would produce an absurd result or be

demonstrably at odds with the intent of Congress in enacting the CCPA. While the

Mandatory Victim Restitution Act and the Criminal Victims’ Rights Act clearly evince an

intent to provide prompt and full restitution to the victims of criminal activity, Congress,

through enactment of the CCPA, has also clearly recognized the need to limit collection of

such indebtedness where the earnings subject to garnishment have at least the earmarks of

wages. If the government were allowed to garnish pension payments due to a former


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employee from an employer at 100%, a retiree could theoretically have no income on which

to live. As an annuitant’s stream of pension payments typically ends upon his or her death,3

it is clearly in the interests of creditors and victims for the pensioner or annuitant to have

some source of income on which to live a long life, thereby maximizing repayment or

restitution. Thus, the court finds that giving plain meaning to the unambiguous language of

the CCPA does not produce an absurd result and is not demonstrably at odds with the intent

of Congress in enacting the CCPA, the MVRA, or the CVRA.

                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Relief from Order

or Motion to Reconsider (#100) is ALLOWED, and the Order of Garnishment is

MODIFIED to provide a maximum garnishment of 25% of defendant’s monthly pension

payments.




                                               Signed: June 18, 2012




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              Unless the pension has a provision for a surviving spouse.
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